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lN RE: ELECTRO lC 'S

 

“~*’ '-` Comes nowthe United States of America, and hereby requests the Court to authorize
the provision to defense counsel in United States v. Ward Crutchfr`eld and Chan'es Love, 05-
20204~!3; Unite`d St‘ates v. Chn's Newton and Charles Love, 05-20205-M1 ; Unr'ted States v.
John Ford, 05-20201-5; Unit‘eo' States v. Roscoe Dr'xon and Barry Myers, 05-20202-M‘l;
and United States v. Kathryn Bowers and Bany Myers, 05-20203-M1 of copies of the
foi|owling:

1 . Redacted portions of Title Il| applications orders and aflidavits in Nlisoeltaneous
No. 05-WT~001(W.D,TN.) and all orders, applications and affidavits submitted requesting
extension or modification of that order.

2. Copies of audio and visual interceptions which were obtained as a result of said
orders, to the extent that said interceptions are relevant as discovery material, or other
material appropriately furnished to defense counsel

At the governments request, sealing orders were issued to preserve the integrity ot the

ongoing investigation The government is seeking the Court’s permission to provide in

This document entered on the docket sheet in compl|ance
with sure 55 and/or 32(b) rech on ~ '6{5

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discovery documents that were submitted to the Court to obtain said order and the fruits of
investigation as appropriately disclosed to the defense attorneys in the above-captioned
cases.

The United States also requests that it be allowed to redact said applications, orders
and aftidavits, editing those matters that are not material to the current indictments, as the
aftidavits, orders and applications contain information concerning lines of investigation that
are not yet completed and individuals who have not been charged in a criminal case. lt this
information is disclosed to the general public, those lines of investigation may be
compromised ln addition, the rights of individuals mentioned but not charged may be
prejudiced For these _reasons, the govern ment also requests that the disclosure be limited
to providing the discovery to defense counsel and their clients, and that the documents made
available to the attorneys for the defendants be subject to a protective order limiting the
dissemination of this information.

Respectfully submitted,

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CERTIFICATE OF SERV|CE

l, TIMOTHY R. DlSCENZA, Assistant United States Attorney for the Western District

of Tennessee, hereby certify thate copy of the foregoing Motion and the proposed order were

mailed, first class postage prepaid, to the following:

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/

This 5 ' day ofJune,2005.

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Respectfuily submitted,
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UNITED S`TATE DRISTIC COURT - WESTERN DSTCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 18 in
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US DISTRICT COURT

